     Case 2:22-cv-02013-GMN-MDC Document 83 Filed 09/24/24 Page 1 of 8




 1    JAMES PATRICK SHEA
      Nevada Bar No. 405
 2    BART K. LARSEN
      Nevada Bar No. 8538
 3    KYLE M. WYANT
 4    Nevada Bar No. 14652
      SHEA LARSEN
 5    1731 Village Center Circle, Suite 150
      Las Vegas, Nevada 89134
 6    Telephone: (702) 471-7432
 7    Fax: (702) 926-9683
      Email: jshea@shea.law
 8    blarsen@shea.law
      kwyant@shea.law
 9
10    JENNIFER E. HOEKEL
      Nevada Bar No. 12775
11    jennifer.hoekel@huschblackwell.com
      HUSCH BLACKWELL LLP
12    8001 Forsyth Boulevard, Suite 1500
13    St. Louis, Missouri 63105
      Telephone: 314.480.1500
14    Facsimile: 314.480.1505
15    -and-
16
      PATRICK M. HARVEY
17    Admitted Pro Hac Vice
      Patrick.Harvey@huschblackwell.com
18    HUSCH BLACKWELL LLP
19    511 North Broadway, Suite 1100
      Milwaukee, WI 53202
20    Telephone: 414.273.2100
      Facsimile: 414.223.5000
21
      Attorney for Plaintiff
22    James V. Deppoleto Jr.
23
                                 UNITED STATES DISTRICT COURT
24
                                  FOR THE DISTRICT OF NEVADA
25
26
27
28




      HB: 4855-6445-7446.2
     Case 2:22-cv-02013-GMN-MDC Document 83 Filed 09/24/24 Page 2 of 8




 1    JAMES V. DEPPOLETO JR.,
                                                              CASE NO. 2:22-CV-2013
 2                                    Plaintiff,
                                                              AMENDED THIRD STIPULATION FOR
 3    v.                                                      EXTENSION OF TIME
 4    TAKEOVER INDUSTRIES                                     SPECIAL SCHEDULING REVIEW
 5    INCORPORATED, et al.                                    REQUESTED
 6                                  Defendant.

 7
 8                           THIRD STIPULATION FOR EXTENSION OF TIME
 9              Plaintiff, James V. Deppoleto Jr. (“Mr. Deppoleto” or “Plaintiff”), by and through his
10
      undersigned counsel, and Defendants, Takeover Industries Incorporated (“Takeover”), Tom Zarro
11
      (“Zarro”), Michael Holley (“Holley”), Toby McBride (“McBride”), Joseph Pavlik (“Pavlik”) and
12
      NextGen Beverages, LLC (“NextGen”) (collectively, the “Takeover Defendants”), 1 by and
13
14    through their undersigned counsel, hereby submit the following Third Stipulation for Extension of

15    Time for the Court’s review:

16              WHEREAS, on November 9, 2023, the Court entered a Scheduling Order (ECF No. 37)
17    setting, among other deadlines: (a) May 7, 2024, as the deadline by which parties must complete
18
      discovery; and (b) June 6, 2024, as the date for filing of dispositive motions;
19
                WHEREAS, on April 30, 2024, the Parties filed a Second Stipulation for Extension of
20
      Time (ECF No. 73), requesting that the discovery and dispositive motion deadline be extended;
21
22              WHEREAS, on May 2, 2024, the Court granted the Parties’ request by Order (ECF No.

23    72), setting: (a) June 20, 2024, as the deadline by which the Parties must complete discovery; and

24    (b) July 22, 2024, as the date for filing dispositive motions;
25
                WHEREAS, on June 20, 2024, the Parties submitted a Stipulation to Stay Case and Request
26
27    1
          Plaintiff and the Takeover Defendants may be referred to as the “Parties.”

28

                                                             2
      HB: 4855-6445-7446.2
     Case 2:22-cv-02013-GMN-MDC Document 83 Filed 09/24/24 Page 3 of 8




 1    for Status Check, due to ongoing settlement discussions and negotiations (ECF No. 75);

 2             WHEREAS, on June 20, 2024, the Court entered a Minute Order staying the case and

 3    vacating pending deadlines;
 4             WHEREAS, in light of the continued settlement negotiations among the Parties, the Parties
 5
      have met and conferred and agree to extend the discovery and case dispositive motion deadlines,
 6
      such that;
 7
                         (a)   Pursuant to LR 26-1(b), discovery in this action shall be completed on or
 8
 9                             before December 9, 2024;

10                       (b)   Dispositive Motions shall be filed and served no later than January 10, 2024;
11                       (c)   Pursuant to LR 26-1(b)(5), the deadline to file the joint pretrial order is
12
                               either: (i) 30 days after the dispositive-motion deadline; or (b) if dispositive
13
                               motions are filed, the deadline for filing the joint pretrial order should be
14
                               suspended until 30 days after decision on the dispositive motions or further
15
                               court order; and
16
17                       (d)   Pursuant to LR26-1(b)(6), the parties will include in the joint pretrial order

18                             the disclosures required by Fed. R. Civ. P. 26(a)(3) and any objections to
19                             them.
20
               WHEREAS, pursuant to LR 26-3, the parties state as follows:
21
                         (a)   After and in light of the Court’s two recent decisions regarding the parties’
22
                               discovery disputes, the parties have exchanged initial written discovery,
23
24                             followed by some supplemental responses having been produced. The

25                             parties have also discussed a deposition schedule for the various fact

26                             witnesses, and have already begun fact witness depositions, with the
27
28

                                                          3
      HB: 4855-6445-7446.2
     Case 2:22-cv-02013-GMN-MDC Document 83 Filed 09/24/24 Page 4 of 8




 1                             remainder to be completed over the course of approximately the next month.

 2                       (b)   The parties need to complete responses to each other’s respective discovery

 3                             requests, and remaining depositions need to occur;
 4                       (c)   The parties have been negotiating over a potential resolution, but those
 5
                               discussions appear to have not been productive in reaching a resolution of
 6
                               all claims.
 7
                         (d)   Since the Court granted the Parties’ first and second stipulations, the Parties
 8
 9                             continued active settlement discussions. Given the claims at issue in this

10                             lawsuit, the Parties were negotiating a very complicated potential resolution
11                             that goes beyond a simple exchange of money for a settlement agreement
12
                               and release and requires additional time for negotiation, but those
13
                               discussions appear to have recently broken down.
14
                         (e)   All discovery shall be completed no later than December 9, 2024.
15
               WHEREAS, undersigned counsel certifies that this is the third stipulation for extension of
16
17    time to file motions pursuant to LR IA 6-1.

18             IT IS HEREBY STIPULATED AND AGREED by and between the parties, through their
19    undersigned counsel and subject to the approval of the Court, that all discovery shall be completed
20
      no later than December 9,2024.
21
               IT IS FURTHER HEREBY STIPULATED AND AGREED by and between the parties,
22
      through their undersigned counsel and subject to the approval of the Court, that all case dispositive
23
24    motions, along with supporting briefs and other papers, if any, shall be served and filed on or

25    before January 10, 2025. Briefing will be presented pursuant to the Court’s Local Rules.

26
27
28

                                                         4
      HB: 4855-6445-7446.2
     Case 2:22-cv-02013-GMN-MDC Document 83 Filed 09/24/24 Page 5 of 8




 1
 2
 3                                               IT IS SO ORDERED.

 4
                                                 ____________________________________
 5                                               UNITED STATES MAGISTRATE JUDGE
 6                                               DATED:          _____________________
 7
 8
       DATED this 24th day of September, 2024.   DATED this 24th day of September, 2024.
 9
       HUSCH BLACKWELL LLP                       HALL & EVANS LLC
10
       /s/ Patrick M. Harvey                     /s/ David Sexton
11
       JAMES PATRICK SHEA                        KURT R. BONDS, ESQ.
12     Nevada Bar No. 405                        Nevada Bar No. 6228
       BART K. LARSEN                            DAVID SEXTON
13     Nevada Bar No. 8538                       Nevada Bar No. 14951
       KYLE M. WYANT                             1160 North Town Center Drive, Suite 330
14     Nevada Bar No. 14652                      Las Vegas, NV 89144
15     SHEA LARSEN                               Attorneys for Defendants Takeover Industries
       1731 Village Center Circle, Suite 150     Incorporated, Tom Zarro, Michael Holley, Toby
16     Las Vegas, Nevada 89134                   McBride, Joseph Pavlik and NextGen Beverages,
       Telephone: (702) 471-7432                 LLC
17     Fax: (702) 926-9683
       Email: jshea@shea.law
18     blarsen@shea.law
19     kwyant@shea.law

20     JENNIFER E. HOEKEL
       Nevada Bar No. 12775
21     jennifer.hoekel@huschblackwell.com
       HUSCH BLACKWELL LLP
22     8001 Forsyth Boulevard, Suite 1500
23     St. Louis, Missouri 63105
       Telephone: 314.480.1500
24     Facsimile: 314.480.1505

25     And

26
27
28

                                                 5
      HB: 4855-6445-7446.2
     Case 2:22-cv-02013-GMN-MDC Document 83 Filed 09/24/24 Page 6 of 8




 1     PATRICK M. HARVEY
       Admitted Pro Hac Vice
 2     Patrick.Harvey@huschblackwell.com
       HUSCH BLACKWELL LLP
 3     511 North Broadway, Suite 1100
       Milwaukee, WI 53202
 4     Telephone: 414.273.2100
 5     Facsimile: 414.223.5000
       Attorney for Plaintiff
 6     James V. Deppoleto Jr.
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           6
      HB: 4855-6445-7446.2
     Case 2:22-cv-02013-GMN-MDC Document 83 Filed 09/24/24 Page 7 of 8




 1                                        CERTIFICATE OF SERVICE

 2
               1.        On September 24, 2024, I served the following document(s): THIRD
 3                       STIPULATION FOR EXTENSION OF TIME

 4             2.        I served the above document(s) by the following means to the persons as listed
                         below:
 5
 6                       X      a.      ECF System:

 7                       KURT R. BONDS on behalf of Defendants Takeover Industries Incorporated, Tom
                         Zarro, Michael Holley, Toby McBride, Joseph Pavlik and NextGen Beverages, LLC
 8                       nvefile@hallevans.com; bondsk@hallevans.com
 9                       DAVID SEXTON on behalf of Defendants Takeover Industries Incorporated, Tom
10                       Zarro, Michael Holley, Toby McBride, Joseph Pavlik and NextGen Beverages, LLC
                         sextond@hallevans.com
11
                         And all other parties requesting notice.
12
                         ☐      b.      United States mail, postage fully prepaid:
13
14                       ☐      c.      Personal Service:

15                       I personally delivered the document(s) to the persons at these addresses:
16
                                         ☐       For a party represented by an attorney, delivery was made by
17                       handing the document(s) at the attorney’s office with a clerk or other person in
                         charge, or if no one is in charge by leaving the document(s) in a conspicuous place
18                       in the office.
19
                                         ☐       For a party, delivery was made by handling the document(s)
20                       to the party or by leaving the document(s) at the person’s dwelling house or usual
                         place of abode with someone of suitable age and discretion residing there.
21
                         ☐       d.      By direct email (as opposed to through the ECF System):
22
                         Based upon the written agreement of the parties to accept service by email or a
23                       court order, I caused the document(s) to be sent to the persons at the email
                         addresses listed below. I did not receive, within a reasonable time after the
24                       transmission, any electronic message or other indication that the transmission was
                         unsuccessful.
25
26                       ☐      e.      By fax transmission:

27                       Based upon the written agreement of the parties to accept service by fax

28

                                                            7
      HB: 4855-6445-7446.2
     Case 2:22-cv-02013-GMN-MDC Document 83 Filed 09/24/24 Page 8 of 8




 1                       transmission or a court order, I faxed the document(s) to the persons at the fax
                         numbers listed below. No error was reported by the fax machine that I used. A copy
 2                       of the record of the fax transmission is attached.

 3                       ☐      f.      By messenger:
 4
                         I served the document(s) by placing them in an envelope or package addressed to
 5                       the persons at the addresses listed below and providing them to a messenger for
                         service.
 6
                         I declare under penalty of perjury that the foregoing is true and correct.
 7
 8                       Dated: September 24, 2024.
                                                        By: /s/ Patrick M. Harvey
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                           8
      HB: 4855-6445-7446.2
